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Attorneys for Defendant State Farm


                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION

 DAVID and SHELLEY
 MACAUSLAND,

                Plaintiffs,
                                                 NOTICE OF REMOVAL
          v.

 STATE FARM AUTO INSURANCE
 COMPANY,

                Defendant.


TO: David and Shelley MacAusland, Pro Se Plaintiffs, and Carbon County Clerk
    of District Court

          Defendant State Farm Mutual Automobile Insurance Company (“State

Farm”), improperly named in the state court action being removed as State Farm

Auto Insurance Company, respectfully gives notice and shows the Court:




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          1.   On February 6, 2018, an action was commenced against Defendant

State Farm in the Montana Twenty-Second Judicial District Court, Carbon County,

entitled David and Shelley MacAusland v. State Farm Auto Insurance Company,

Cause No. DV 18-12. Service of process was made February 9, 2018, upon the

Commissioner of Securities, Montana State Auditor, in conformity with the

provisions of Montana Code Annotated § 33-1-603(1). The Commissioner

thereafter sent the Summons and Complaint to the statutory agent for Defendant

State Farm on February 12, 2018. This notice is therefore timely pursuant to

28 U.S.C. § 1446. Venue is proper in this division. L.R. 1.2(c)(1). Copies of the

Civil Cover Sheet, Complaint, Summons and Commissioner’s letter are attached

hereto as Exhibits A, B, C and D. No further proceedings have been had in the

action.

          2.   The Complaint on file herein states the amount of damages being

sought by Plaintiffs exceeds the sum of Seventy Five Thousand and No/100

Dollars ($75,000.00), exclusive of interest and costs.

          3.   At the time this action was commenced, Plaintiffs were and still are

residents and citizen of Carbon County, State of Montana.

          4.   Defendant State Farm, at the time this action was commenced was and

still is a corporation incorporated under the laws of the State of Illinois, with its

principal place of business in Illinois, and was not and is not a citizen of the State



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of Montana, wherein this action was brought.

          5.   The above-described action is one in which this Court has original

jurisdiction under the provisions of 28 U.S.C. § 1332, and is one which may be

removed to this Court by the Defendant herein, pursuant to the provisions of

28 U.S.C. § 1441 in that it is a civil action wherein the matter in controversy

exceeds the sum or value of Seventy Five Thousand and 00/100 Dollars

($75,000.00), exclusive of interest and costs, and is between citizens of different

states.

          6.   Pursuant to Federal Rule of Civil Procedure 81(c)(2)(C), Defendant

will file its Answer to Plaintiffs’ Complaint within 7 days after filing of Notice of

Removal.

          WHEREFORE, Defendant prays that the action now pending against it in

the Montana Twenty-Second Judicial District Court, Carbon County, be removed

therefrom to this Court.

          DATED this 13th day of March, 2018.



                                    /s/ Bradley J. Luck
                                  Attorneys for Defendant State Farm




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on March 13, 2018, a copy of the foregoing document

was served on the following persons by the following means:

                        Hand Delivery
               1-2      Mail
                        Overnight Delivery Service
                        Fax (include fax number in address)
               2        E-Mail (include email in address)


          1.         David and Shelley MacAusland
                     10 Beaver Dam Rd.
                     Roscoe, MT 59071
                       Pro Se Plaintiffs

          2.         Clerk of Court
                     Carbon County District Court
                     P.O. Box 948
                     Red Lodge, MT 59068
                     rloyning@mt.gov



                                         /s/ Bradley J. Luck
                                       Attorneys for Defendant State Farm




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